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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


  THE SHANE GROUP, INC., et al.,

        Plaintiffs,
                                                      Case No. 10-CV-14360
  v.                                                  (Class Action Matter)
                                                      HON. DENISE PAGE HOOD
  BLUE CROSS BLUE SHIELD OF MICHIGAN,

       Defendant.
  _______________________________________/


       ORDER REGARDING VARIOUS MOTIONS TO SEAL OR REDACT

  I.    BACKGROUND:

        This matter is on remand from the Sixth Circuit Court of Appeals. Shane

  Group, Inc. v. Blue Cross Blue Shield of Michigan, 825 F.3d 299 (6th Cir. 2016). The

  Sixth Circuit ordered that on remand, this Court “must begin the Rule 23(e) process

  anew.” Id. at 311. The Sixth Circuit vacated the Court’s approval of the settlement

  and its orders sealing documents in the court record. Id.

        On June 22, 2012, a Consolidated Class Action Amended Complaint was filed

  against Defendant Blue Cross Blue Shield of Michigan (“Blue Cross”) alleging:

  Unlawful Agreement in Violation of § 1 of the Sherman Act under the Rule of Reason

  (Count I); Unlawful Agreements in Violation of Section 2 of the Michigan Antitrust
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  Reform Act, M.C.L. § 445.772 (Count II). (Doc. No. 274) The class action seeks to

  recover overcharges paid by purchasers of Hospital Healthcare Services directly to

  hospitals in Michigan that resulted from the anticompetitive acts of Blue Cross. (Am.

  Comp., ¶ 1) Blue Cross is a Michigan nonprofit healthcare corporation headquartered

  in Detroit, Michigan. (Am. Comp., ¶ 18) Blue Cross provides, directly and through

  its subsidiaries, health insurance and administrative services, including preferred

  provider organization (“PPO”) health insurance products and health maintenance

  organization (“HMO”) health insurance products. (Am. Comp., ¶ 18)

        On remand, the Court held a status conference in this matter. A Scheduling

  Order was issued on August 25, 2016 setting dates regarding the sealed matters and

  setting dates for Plaintiffs’ Motion for Preliminary Approval of Class Settlement.

  (Doc. No. 262) After Blue Cross conferred with the Third Parties regarding the sealed

  documents, many of the previously sealed documents have been unsealed by

  agreement or with no opposition. (See, Doc. Nos. 266, 273, 274, 275, 276, 277, 278,

  279, 280, 298) Motions to remain sealed or redact certain documents were filed by

  Blue Cross, Spectrum Health Systems (“Spectrum”), The Dow Chemical Company

  (“Dow”) and CIGNA Health and Life Insurance Company (“CIGNA”). Briefs have

  been filed and a hearing held on the matter.

  II.   MOTIONS TO SEAL OR REDACT


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        A.       Ruling by the Sixth Circuit

        On appeal, the Sixth Circuit ruled that the standards to seal the Court’s records

  were not met. Shane Group, 825 F.3d at 306. The standards set forth by the Sixth

  Circuit are:

                        By way of background, there is a stark difference
                 between so-called “protective orders” entered pursuant to
                 the discovery provisions of Federal Rules of Civil
                 Procedure 26, on the one hand, and orders to seal court
                 records, on the other. Discovery concerns the parties’
                 exchange of information that might or might not be relevant
                 to their case. “Secrecy is fine at the discovery stage, before
                 the material enters the judicial record.” Baxter Int'l, Inc. v.
                 Abbott Labs., 297 F.3d 544, 545 (7th Cir. 2002). Thus, a
                 district court may enter a protective order limiting the use
                 or disclosure of discovery materials upon a mere showing
                 of “good cause[.]” Fed. R. Civ. P. 26(c)(1). These orders
                 are often blanket in nature, and allow the parties to
                 determine in the first instance whether particular materials
                 fall within the order's protection. The district court entered
                 several such orders here.

                         “At the adjudication stage, however, very different
                 considerations apply.” Joy v. North, 692 F.2d 880, 893 (2d
                 Cir. 1982). The line between these two stages, discovery
                 and adjudicative, is crossed when the parties place material
                 in the court record. Baxter, 297 F.3d at 545. Unlike
                 information merely exchanged between the parties, “[t]he
                 public has a strong interest in obtaining the information
                 contained in the court record.” Brown & Williamson
                 Tobacco Corp. v. F.T.C., 710 F.2d 1165, 1180 (6th Cir.
                 1983). That interest rests on several grounds. Sometimes,
                 the public's interest is focused primarily upon the
                 litigation's result—whether a right does or does not exist, or


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              a statute is or is not constitutional. In other
              cases—including “antitrust” cases, id. at 1179—the public's
              interest is focused not only on the result, but also on the
              conduct giving rise to the case. In those cases, “secrecy
              insulates the participants, masking impropriety, obscuring
              incompetence, and concealing corruption.” Id. And in any
              of these cases, the public is entitled to assess for itself the
              merits of judicial decisions. Thus, “[t]he public has an
              interest in ascertaining what evidence and records the
              District Court and this Court have relied upon in reaching
              our decisions.” Id. at 1181; see also, e.g., Baxter, 297 F.3d
              at 546.

                     The courts have long recognized, therefore a “strong
              presumption in favor of openness” as to court records.
              Brown & Williamson, 710 F.2d at 1179. The burden of
              overcoming that presumption is borne by the party that
              seeks to seal them. In re Cendant Corp., 260 F.3d 183, 194
              (3d Cir. 2001). The burden is a heavy one: “Only the most
              compelling reasons can justify non-disclosure of judicial
              records.” In re Knoxville News–Sentinel Co., 723 F.2d 470,
              476 (6th Cir. 1983). Moreover, the greater the public
              interest in the litigation's subject matter, the greater the
              showing necessary to overcome the presumption of access.
              See Brown & Williamson, 710 F.2d at 1179. For example,
              in class actions—where by definition “some members of
              the public are also parties to the [case]”—the standards for
              denying public access to the record “should be applied ...
              with particular strictness.” Cendant, 260 F.3d at 194. And
              even where a party can show a compelling reason why
              certain documents or portions thereof should be sealed, the
              seal itself must be narrowly tailored to serve that reason.
              See, e.g., Press–Enter. Co. v. Superior Court of California,
              Riverside Cnty., 464 U.S. 501, 509-11, 104 S.Ct. 819, 78
              L.Ed.2d 629 (1984). The proponent of sealing therefore
              must “analyze in detail, document by document, the
              propriety of secrecy, providing reasons and legal citations.”


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               Baxter, 297 F.3d at 548.

                       In like fashion, a district court that chooses to seal
               court records must set forth specific findings and
               conclusions “which justify nondisclosure to the public.”
               Brown & Williamson, 710 F.2d at 1176. That is true even
               if neither party objects to the motion to seal, as apparently
               neither did in Brown & Williamson. (There, our court
               “reach[ed] the question” of the district court's seal “on our
               own motion.” Id.) As our decision there illustrates, a
               court's obligation to explain the basis for sealing court
               records is independent of whether anyone objects to it. And
               a court's failure to set forth those reasons—as to why the
               interests in support of nondisclosure are compelling, why
               the interests supporting access are less so, and why the seal
               itself is no broader than necessary—is itself grounds to
               vacate an order to seal. Id.; see also United States v.
               Kravetz, 706 F.3d 47, 60 (1st Cir. 2013) (“Appellate courts
               have on several occasions emphasized that upon entering
               orders which inhibit the flow of information between courts
               and the public, district courts should articulate on the
               record their reasons for doing so”); SEC v. Van
               Waeyenberghe, 990 F.2d 845, 849 (5th Cir. 1993)
               (reversing because “[w]e find no evidence in the record that
               the district court balanced the competing interests prior to
               sealing the final order”).

  Shane Group, 825 F.3d at 305–06. A court’s obligation to keep its records open for

  public inspection is not conditioned on an objection from anybody. Id. at 307. The

  standards for protective orders and sealing court records must not be conflated. Id.

  Financial and negotiating information, especially in the instant case where a practice

  has since been outlawed by the Michigan Legislature, is not entitled to protection as



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  a legitimate trade secret. Id. at 308. As to the Third Parties in the instant case, the

  Sixth Circuit noted,

                       Here, as to the third-party hospitals, there is no
                statutory or regulatory privilege that protects their
                information from disclosure, and the particulars of years-
                ago negotiations are unlikely to amount to a trade secret.
                Moreover, the conduct of the hospitals that agreed to MFN
                clauses with Blue Cross is intricately bound up with the
                subject of the suit; the public has a keen interest in that
                conduct; and the hospitals have a lesser privacy interest
                than did the bank customers. Finally, what little information
                there is in the record from third-party insurers is for the
                most part highly generalized (as in the expert report) or
                consists of the insurers’ complaints about Blue Cross's
                MFN practices. In any event, the parties or the third parties
                themselves remain free on remand to demonstrate—on a
                document-by-document, line-by-line basis—that specific
                information in the court record meets the demanding
                requirements for a seal.

  Id. at 309.

        In Brown & Williamson Tobacco, the Sixth Circuit noted that the common law,

  content-based exceptions to the right of access to court proceeding were developed to

  protect competing interests. 710 F.2d at 1179. In addition to a party’s right to a fair

  trial, the competing interests include “certain privacy rights of participants or third

  parties, trade secrets and national security.” Id. Trade secrets are “a recognized

  exception to the right of public access to judicial records,” where the documents at

  issue were not trade secrets because the movant’s competitors already had access to


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  the documents. Id. at 1180. A movant seeking to seal court records is required to

  show that the information in question constitutes trade secrets, which would, if

  revealed, cause the movant to suffer a competitive disadvantage. Cinpres Gas

  Injection Ltd. v. Volkswagen Group of America, Inc., 2013 WL 11319319 at *3 (E.D.

  Mich. Feb. 14, 2013). Motions to seal have been granted as to trade secrets, defined

  as “information which is used in one’s business, and which gives him an opportunity

  to obtain an advantage over competitors who do not know or use it” or to prevent

  dissemination of “business information that might harm a litigant’s competitive

  standing.” Id. (citing, Apple, Inc. v. Samsung Elec. Co., Ltd., 2012 WL 6115623, at

  *1 (N.D. Cal. Dec. 10, 2012)). Motions to seal have been denied where the movants

  have failed to demonstrate that the information or documents in question constituted

  trade secrets which would, if made public, give the movants’ competitors an unfair

  business advantage” or that the competitors already had access to the information. Id.



        Based on the above-cited law, the movants in this matter must overcome “the

  strong presumption in favor of openness,” and persuade the Court to take the “drastic

  step” of sealing filed documents. Brown & Williamson Tobacco, 710 F.2d at 1179;

  Cinpres Gas, 2013 WL 11319319 at *4. The Court addresses each movant’s motion

  to seal below, balancing the competing interests noted above.


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        B.     Blue Cross’ Motion to Seal, to Redact and Keep Under Seal Limited
               Information (#267)

        Blue Cross seeks redactions to portions of 12 exhibits (out of 153 exhibits) to

  four briefs Blue Cross previously filed under seal. It appears that Blue Cross followed

  the Sixth Circuit’s requirement that a movant seeking to seal or redact documents

  must review the documents line by line. The Class Plaintiffs filed a response to this

  motion.

               1.     Letters from Joseph Aoun filed in Blue Cross’ opposition to
                      Aoun’s Motion to Quash Deposition Subpoena (Filed in Doc.
                      #110, Ex. A)

        In its opposition to Joseph Aoun’s Motion to Quash Deposition Subpoena, Blue

  Cross attached letters from Aoun from 2006-07 to show that Aoun’s deposition would

  be relevant. The Court did not rule on the motion since the parties agreed to settle the

  case. Blue Cross argues that the information to be redacted is unrelated to, does not

  mention an MFN and is not necessary for the public to understand the MFNs and their

  effect and would not aid absent class members in assessing the strength of the case or

  evaluating the fairness of the proposed settlement. The proposed redacted information

  Blue Cross claims reveals information about specific rates that Blue Cross paid, and

  the margins that Blue Cross was willing to agree to pay at a particular hospital. Blue

  Cross asserts that this type of information could be used by competitors and other



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  hospitals to Blue Cross’ disadvantage in future negotiations. Blue Cross claims that

  the information has not been disclosed to other hospitals, other than their negotiating

  agents such as Aoun. Blue Cross claims that insurer rate information is a trade secret.

  St. Alphonsus Med. Ctr.-Nampa Inc. v. St. Luke’s Health Sys. Ltd., 2015 WL 632311

  (D. Idaho Feb. 13, 2015); Queen’s Mmed. Ctr. V. Kaiser Foundation Health Plan,

  2014 WL 1234506 (D. Haw. Mar. 24, 2014); F.T.C. v. OSF Healthcare Sys., 2012

  WL 1144620 (N.D. Ill. Apr. 5, 2012).

        Mark Johnson, Blue Cross’ Vice President of Provider Contracting Support,

  states in his affidavit that Blue Cross makes a good-faith effort to maintain the

  confidentiality of its contract terms and reimbursement rates at specific hospitals. If

  the information about Blue Cross’ individually negotiated hospital rates were to

  become public, or the information about margins that a hospital is paid, the

  information could be used by other hospitals in an effort to raise their own

  reimbursement rates. Johnson asserts that disclosure of this information to the public

  would likely result in competitive harm to Blue Cross. (Johnson Aff., ¶¶ 6, 8-11)

        Class Plaintiffs argue the information is a decade old and that the Sixth Circuit

  noted that “the particulars of years-ago negotiations are unlikely to amount to a trade

  secret.” Shane Group, 825 F.2d at 308. Class Plaintiffs also argue that Blue Cross

  has not taken reasonable steps to keep the information confidential. The emails show


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   negotiations between Blue Cross and two hospitals. There is no indication that the

   email discussion was to be kept confidential. Class Plaintiffs assert that Blue Cross

   has not met its burden that the information is confidential. Class Plaintiffs do not

   dispute that the rate information is considered a trade secret.

         This Court’s review of the Aoun communications indicate that the actual rate

   information is a trade secret. Although the negotiations appear to be between Blue

   Cross and a representative from certain hospitals, the rate information and margin rate

   were not revealed to Blue Cross’ competitors. Blue Cross has met the requirement

   that it has kept the rate information and margin rate confidential from its competitors.

   As to harm Blue Cross may suffer from the public disclosure of the rate information,

   Blue Cross supported the harm it would suffer by submitting Johnson’s affidavit. As

   noted above, Johnson asserted that the information about rates and the margin would

   likely result in competitive harm to Blue Cross because hospitals may now seek a raise

   in their reimbursement rate and Blue Cross’ competitors would now have knowledge

   of the rate and margin information. The Court agrees that the Sixth Circuit noted the

   particulars of years-ago negotiations are unlikely to amount to a trade secret, but the

   Sixth Circuit referred to this issue as to the third-party hospitals’ information, not to

   Blue Cross’ information and the harm Blue Cross may suffer from disclosure of this

   information to Blue Cross’ competitors. A redaction of this specific information as


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   proposed by Blue Cross, does not take away from the gist of the discussions between

   Aoun and Blue Cross representatives. Absent class members and the public are still

   able to review the documents. Blue Cross has shown a compelling reason that specific

   portions of the Aoun communications should be redacted and the redaction is

   narrowly tailored to serve Blue Cross’ interest in redacting its rate and margin

   information trade secret from the public and its competitors. Blue Cross may file the

   redacted version of the Aoun communications.

                2.     Plaintiffs’ Motion for Class Certification (Filed in Doc. #133)

         Blue Cross seeks to redact eight of the 90 exhibits which were attached to Class

   Plaintiffs’ previously-filed Motion for Class Certification. Blue Cross asserts these

   redactions are limited to irrelevant information unrelated to MFNS. Blue Cross claims

   these redactions will protect Blue Cross’ competitively-sensitive information,

   including pricing information and three hospital agreements which describes Blue

   Cross’ Model Reimbursement Methodology (“MRM”). Blue Cross claims that as to

   the hospital agreements that isolated rates of certain hospitals do not add to the class

   members’ ability to evaluate the settlement since the analysis of Dr. Jeffrey Leitzinger

   was based on aggregated rates and claims information across multiple hospitals. Blue

   Cross asserts that the rates in these agreements are still of value to current rates for

   which trade secret protection is warranted. Johnson’s affidavit asserts that although


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   the rates discussed in the documents are dated 2006 to 2009, the rates remain

   commercially sensitive because the rates do not change frequently and even if the

   rates are not currently in effect, the rates continue to be relevant for current and future

   Blue Cross negotiations with the hospitals. (Johnson Aff., ¶ 12)

         Class Plaintiffs argue that the contracts are old and that Blue Cross does not

   assert that the contracts are still in effect. Class Plaintiffs further argue that although

   the MFN clauses are not redacted in the contracts, other contract terms are relevant to

   the case. Class Plaintiffs claim that the rate information, in conjunction with the MFN

   clauses assist some class members in understanding the Motion for Class Certification

   who are then able to form an opinion of the reasonableness of the settlement.

         This Court’s review of the documents Blue Cross seeks to redact filed as

   exhibits in Class Plaintiffs’ previously-filed Motion for Class Certification (Doc. No.

   133; Exs. A-2 to A-9 of Johnson’s Affidavit) shows that the redacted portions involve

   Blue Cross’ rate information and reimbursement methodology which are trade secrets

   and have not been revealed to Blue Cross’ competitors. However, certain proposed

   redaction the Court finds will not harm Blue Cross’ competitive edge. The following

   exhibits (attached to the Johnson Affidavit) should not be redacted:

                     1) Ex. A-3 (Ex. U to Doc. #133, XI. Other Provision,
                ¶¶ D (Notification fo Charge Increases) and E
                (Administrative Price Adjustments));


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                      2) Ex. A-4 (Ex. V to Doc. #133, ¶¶ 15-23
                (Presumably part of Article I, Definitions), Article II
                (Hospital Responsibilities), ¶¶ 4-7, and Article VII
                (Reporting Information).

         As argued by the Class Plaintiffs, although the rate information may be older,

   Blue Cross supported its claim that these rates do not change frequently from year to

   year and are relevant to current and future rate negotiations. Blue Cross has shown

   a compelling reason that specific portions of the exhibits to Plaintiffs’ Motion for

   Class Certification should be redacted and the redaction be narrowly tailored to serve

   Blue Cross’ interest in redacting its rate, margin and reimbursement methodology

   information trade secret from the public and its competitors.

                3.     Expert Report of Professor David S. Sibley Attached to Filings

         Blue Cross seeks to redact limited information from one of three expert reports

   that were previously filed under seal–that of Professor David S. Sibley (Ex. A-9 to the

   Johnson Affidavit). Blue Cross filed a response previously opposing the Class

   Plaintiffs’ Motion for Class Certification. Blue Cross asserts that it seeks to redact

   information from two paragraphs and six footnotes of the Sibley Report which reveal

   components of Blue Cross’ hospital rates, negotiation strategies and reimbursement

   rates. Blue Cross claims that the redactions do not relate to an MFN.

         Class Plaintiffs respond that the Sibley Report was previously prepared to



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   support Blue Cross’ previous opposition to Class Certification and could inform class

   members of the risks inherent in continued litigation.

         The Court’s review of the proposed redaction of the Sibley Report shows that

   the following footnotes should NOT be redacted because they do not reveal any trade

   secrets: 1) footnote 51; 2) footnote 52; 3) footnote 101; and 4) footnote 184.

         However, footnotes 32 and 57 refer to rates and reimbursement methodology

   information which are trade secrets. The proposed redactions in paragraphs 37 and

   38 also refer to hospital, margin and reimbursement rates, which are also trade secrets.

   Blue Cross has not disclosed this information to the public or its competitors. Blue

   Cross has shown a compelling reason that these specific portions of the Sidley Report

   should be redacted. The redaction is narrowly tailored to serve Blue Cross’ interest

   in sealing its rate, margin and reimbursement methodology information trade secret

   from the public and its competitors.

                4.     Blue Cross’ Response to Plaintiffs’ Class Certification Motion

         Blue Cross also seeks to redact another exhibit to its response to Plaintiffs’

   Motion for Class Certification (previously-filed in Doc. No. 139), Appendix 30, which

   is a three-page excerpt from the Participating Hospital Agreement covering Peer

   Group 5 model reimbursement method. Blue Cross claims that this PHA in Appendix

   30 is a current PHA.


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         Class Plaintiffs argue that this is an excerpt from Exhibit V, shown in Exhibit

   A-4 to Johnson’s affidavit and for the same reasons argued above, this exhibit should

   not be redacted.

         The Court’s review of the proposed redaction of Appendix 30, attached as

   Exhibit A-10 to the Johnson Affidavit, shows that this information includes the

   reimbursement rate and methodology used by Blue Cross and is trade secret

   information. As asserted by Johnson in his affidavit, the model reimbursement

   method is currently used by Blue Cross today and is among the most sensitive

   documents government Blue Cross’ hospital contracting practices. (Johnson Aff., ¶

   16) Blue Cross has not disclosed this information to the public or its competitors. Blue

   Cross has shown a compelling reason that the model reimbursement is currently used

   by Blue Cross and should be redacted. The Court finds that the redaction is narrowly

   tailored to serve Blue Cross’ interest in protecting its model reimbursement

   methodology information from the public and its competitors.

                5.     Blue Cross’ Motion to Exclude Leitzinger Expert Testimony
                       (Previously filed in Doc. No. 140)

         Blue Cross seeks to redact from two out of the 33 exhibits it filed in support of

   its motion to exclude the expert opinion in support of class certification by Dr.

   Leitzinger. The Sibley Report has been discussed above. The second exhibit at issue



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   is Appendix 17 found in the previously-filed Doc. No. 40. Appendix 17 is an email

   chain which contains internal Blue Cross discussions regarding a request from

   Marquette Hospital for a rate increase. Blue Cross asserts that this request is unrelated

   to the MFNs. Blue Cross proposes to redact material that reflects Blue Cross’

   negotiating strategy when responding to the hospital’s request for additional

   reimbursements.

         The Class Plaintiffs respond that any negotiations with hospitals during the time

   Blue Cross was pushing for the MFNs are inextricably intertwined with the issue of

   MFNs. The question of how much of a reimbursement increase some hospitals may

   have gained in the absence of an MFN could be relevant to Plaintiffs’ damages

   calculation. This information the Class Plaintiffs assert is relevant to the class

   members’ evaluation of the benefits of the settlement bargain.

         The Court’s review of Appendix 17 previously filed in Doc. No. 140 shows that

   the proposed redacted information does not reveal any hospital or reimbursement rates

   Blue Cross may have given to Marquette Hospital. The information shows how much

   Marquette Hospital is over the current model used at that time. The email discusses

   how Marquette Hospital can narrow the gap in reimbursement differences and the

   required funding requirements for the initiatives. The email then sets forth options to

   Marquette Hospital’s request. The Court finds this information may be relevant to the


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   calculations of damages as noted by Plaintiffs with or without the MFNs. This

   information may also assist the class members in evaluating whether the proposed

   settlement is reasonable and the risks involved to opt out of the settlement. Blue

   Cross has not met its burden of showing that the information it seeks to redact in

   Appendix 17, attached to Johnson’s Affidavit as Exhibit A-11, is trade secret

   information. Blue Cross must file Appendix 17 without redaction.

                6.     Summary of Blue Cross’ Motion

         After weighing the competing interests in determining whether to redact certain

   documents, the Court grants in part and denies in part, as more fully set forth above,

   Blue Cross’ Motion to Redact and Keep Under Seal Limited Information.

         C.     Spectrum Health Systems’ Motion to Preserve Exhibits Under Seal
                (#282, 10/25/16)

         Third-Party Spectrum Health (“Spectrum”) seeks to preserve exhibits under seal

   based on attorney-client privilege and sensitive private information regarding the legal

   advice between Spectrum and its outside counsel, Joseph Aoun. Blue Cross filed a

   response indicating it did not oppose Spectrum’s motion. The Class Plaintiffs did not

   file a response addressing Spectrum’s motion.

         The Sixth Circuit has noted that “the greater the public interest in the

   litigation’s subject matter, the greater the showing necessary to overcome the



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   presumption of access.” Shane Group, 825 F.3d at 305. “In civil litigation, only trade

   secrets, information covered by a recognized privilege (such as attorney-client

   privilege), and information required by statute to be maintained in confidence (such

   as the name of a minor victim of a sexual assault)” is typically enough to overcome

   the presumption of access. Rudd Equipment Co., Inc., v. John Deere Construction &

   Forestry Co., 834 F.3d 589 (6th Cir. 2016) (quoting, Baxter Int’l, Inc. v. Abbott

   Laboratories, 297 F.3d 544, 546 (7th Cir. 2002)).

         The burden of establishing the existence of the privilege rests with the person

   asserting it. In re Grand Jury Investigation No. 83-2-35, 723 F.2d 447, 450 (6th Cir.

   1983). The “attorney/client privilege is waived by voluntary disclosure of private

   communications by an individual or corporation to third parties.” In re Grand Jury

   Proceedings October 12, 1995, 78 F.3d 251, 254 (6th Cir. 1996). A client may waive

   the privilege by conduct which implies a waiver of the privilege or a consent to

   disclosure. United States v. Dakota, 197 F.3d 821, 825 (6th Cir. 1999). In Michigan,

   “it is not within the power of the court or any party to waive the privilege for [the

   client].” Agee v. Williams, 17 Mich. App. 417 (1969).

          Spectrum seeks to exclude documents Blue Cross attached to its Response to

   a Motion to Quash deposition of Joseph Aoun, Spectrum’s counsel (previously filed

   on Doc. No. 110). The documents identified were labeled SCH-DOJ-012299, SCH-


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   DOJ-012300, SCH-DOJ-012379, SCH-DOJ-012380 and SCH-DOJ-015174.

   Spectrum wrote a letter to the DOJ and Blue Cross’ counsel on December 20, 2012

   noting that it had inadvertently produced certain documents that are protected by the

   attorney-client privilege, noting the above-identified documents. Spectrum is a non-

   party to the pending actions involving Blue Cross and the MFN discount clauses, but

   had produced a substantial volume of documents in those actions consenting to the use

   of the documents in the various proceedings, subject to protective orders. However,

   as to the documents noted above, Spectrum claims these were inadvertently produced.

         The Court’s review of the documents previously-filed in Doc. No. 110 shows

   that these documents are subject to the attorney-client privilege. Spectrum owns the

   privilege and it has shown that these documents were inadvertently produced.

   Spectrum has not waived its privilege over these documents. None of the parties

   object to Spectrum’s request that these exhibits remain sealed. The Court finds that

   Spectrum has established that it is entitled to the requested relief of continuing to seal

   these documents. Spectrum’s Motion to Preserve Exhibits Under Seal is granted.

         D.     Dow Chemical Company’s Motion to Seal/Motion to Redact Certain
                Information (#284, 10/25/16)

         Dow Chemical seeks to keep sealed or redacted, Dow’s information contained

   in the expert report of Dr. Christopher A. Vellturo. Dow had a limited involvement



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   in this matter in 2012 when it responded to subpoenas from the U.S. Department of

   Justice, Aetna, and other parties in this case as part of discovery in the litigation

   arising from Blue Cross’ use of MFN clauses. Dow is self-insured and spends

   hundreds of millions of dollars per year on healthcare for its employees. Dow

   acquires many of its network services through competitive bidding process and

   requests proposals from different network service providers. Dow reviewed the

   Vellturo report and seeks to retain three of the pages sealed based on confidential,

   proprietary trade secrets and highly confidential information which Dow claims would

   commercially harm Dow if made public.

         Blue Cross does not oppose Dow’s request. The Class Plaintiffs respond that

   Dow has not established that the information it seeks to protect qualifies as trade

   secrets or that its privacy interest outweighs the interest of the public in accessing

   court records. The Class Plaintiffs argue that over fifty nonparties were mentioned in

   the Vellturo report and that only Dow (and Aetna discussed below) sought redactions

   of the report. The Class Plaintiffs assert that this shows the vast majority of the other

   nonparties do not view the type of information in the Vellturo Report as confidential.

         The Court has reviewed the paragraphs of the Vellturo Report Dow seeks to

   keep redacted. Paragraphs 308, 309, 310 and 311 reveal Dow’s internal, confidential

   study regarding possible healthcare costs from different service providers and Dow’s


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   reasons for choosing one provider over another. Pricing information based on Dow’s

   own studies are set forth in these paragraphs. This confidential information shows

   how Dow makes its decision in providing healthcare service providers to its

   employees. Dow is self-funded and must view the costs closely when negotiating

   with various service providers. Dow has shown that this information is confidential

   and is a trade secret which goes to its ability to negotiate the costs of healthcare and

   its overall financial strength. Redaction of paragraphs 308, 309, 310 and 311 is

   narrowly tailored to serve Dow’s interest in protecting its confidential information and

   methodology information as to how it chooses healthcare providers for its employees

   from the public and its competitors.

         As to paragraphs 312 and 313, the Court finds these two paragraphs are relevant

   to the issue regarding MidMichigan’s dealings with Blue Cross and Aetna. This

   information may assist the class members in evaluating whether the proposed class

   settlement is reasonable. This information shows the competition between Blue Cross

   and Aetna and the dynamics between the two and their relationships with the

   hospitals. Paragraphs 312 and 313 will not be redacted. Dow Chemical’s Motion to

   Seal/Motion to Redact Certain Information is granted in part and denied in part as set

   forth above.

         E.       Aetna’s Motion to Redact and Keep Under Seal Limited


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                Information (#286, 10/25/2016; Corrected in #300, 10/25/16)

         Aetna seeks to redact and keep under seal limited information. Blue Cross

   objects to some of Aetna’s request. The Class Plaintiffs object to Aetna’s request.

   The Class Plaintiffs’ main objection to Aetna’s request is that Aetna has not provided

   a line by line demonstration necessary to justify the requested redactions.

         As noted above, the Sixth Circuit indicated that the third-party who seeks to

   keep information from the public and the court’s docket must demonstrate—on a

   document-by-document, line-by-line basis—that specific information in the court

   record meets the demanding requirements for a seal. Shane Group, 825 F.3d at 309.

   Aetna attached Exhibit B to its motion listing 18 documents without indicating the

   privilege or trade secret information it claims may be redacted. Aetna did not attach

   the unredacted versions (under seal) so that the Court could view the documents in

   context. Aetna also did not submit any support (such as affidavits) as to why the

   documents it seeks to be redacted are trade secrets or may harm Aetna.

         At the hearing in this matter, Aetna indicated it would submit supplemental

   documents to support its request in the format the Sixth Circuit required. Aetna

   thereafter filed the Declaration of Suzanne Hall in support of Aetna’s Motion to

   Redact Limited Information. (Doc. No. 311) In this submission, Aetna listed the

   specific documents it wanted to remain sealed, line by line, identifying three


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   categories as reasons for keeping the documents sealed. Aetna also submitted a status

   report after it conferred with Blue Cross on the matter. Aetna noted Blue Cross’

   objections in its report. The Court only addresses the documents specifically

   identified by Aetna in its latest more specific submissions. The request to redact

   and/or seal the documents, without being specifically identified by Aetna is denied

   since Aetna did not meet its burden to redact/seal these documents. The Court

   addresses the more specific documents identified by Aetna below, as listed in Hall’s

   Declaration, Doc. No. 311, Pg ID 11787-11788 and Aetna’s Status Report, Doc. No.

   313, Pg ID 12191-12200.

         The first category, identified by Aetna as Category A, include information

   regarding Aetna’s hospital reimbursement rates. Aetna claims that if the individually-

   negotiated hospital reimbursement rates became public, the disclosure would risk

   harm to Aetna in its negotiations with hospitals or would give an unfair advantage to

   its competitors. Aetna claims that some of these rates remain in effect today and its

   competitors do not have access to the rates in the ordinary course of business.

         The second category, labeled by Aetna as Category B, includes information

   relating to Aetna’s negotiations, business and competitive strategy. Aetna claims that

   these documents contain information about Aetna’s approach to negotiating with

   hospitals, its strategies for competing for customers, its internal assessment of its own


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   business, and its strategies for competing with other managed care companies,

   including blue Cross.     The documents contain competitively-sensitive internal

   strategic information. Aetna asserts that if this information was publicly released, it

   would likely harm Aetna by giving its competitors insight into Aetna’s confidential

   competitive and business strategy.

         The third category, Category C, involve documents and transcripts that contain

   information about Aetna’s relationship with its customers and its customer retention

   and acquisition strategies, which Aetna claims it keeps confidential. Aetna asserts that

   the documents contain competitively-sensitive information about Aetna’s customer

   relationships.

         After reviewing the cited documents, the Court grants in part Aetna’s request

   to redact certain passages, finding that the redaction is narrowly tailored to protect

   Aetna’s confidential strategies and information. The Court rules as follows:

                1.     Vellturo Expert Report:

         The following may be redacted by Aetna, the Court finding that these passages

   in the Vellturo Report contain information about Aetna’s confidential strategies as to

   their customers: page 64, ¶ 175; page 65, ¶¶ 177, 178; all of page 66; page 69, ¶ 188;

   page 96, last sentence of ¶ 247 and first two sentences of ¶ 248; page 101, ¶ 265; page

   103, only the percentage number of Aetna in ¶ 271; page 111, ¶ 298; page 115, ¶¶ 308


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   and 309; page 116, first sentence of ¶ 310; page 117, page 118, ¶ 314; page 120, ¶

   319; page 32, ¶ 355; page 140, last sentence of ¶ 377 and all of ¶ 378; page 146, ¶

   392; all of page 147; page 149, ¶ 396; all of page 150; page 205, the second, third and

   fourth sentences of ¶ 542; pages 213 to 220; pages 233 to 237; and all of page 238

   except for the Conclusion heading and ¶ 614.

         Paragraphs 312 and 313 on page 118 will not be redacted because it shows the

   reason why and how MidMichigan dealt with both Aetna and Blue Cross. This

   information, and the remaining passages the Court declined to redact, may be relevant

   to the Class Plaintiffs’ evaluation of the Settlement Agreement.

         2.     October 9, 2012 Michael Winters Deposition:

         Aetna seeks to redact certain passages of the October 9, 2012 Michael Winters

   deposition found in Doc. No. 133, Ex. HHHH, lines 45:1 to 46:8. Aetna may redact

   these specific lines, the Court finding that the information involves Aetna’s

   confidential business strategies.

         3.     November 13, 2012 Deborah Lantzy-Talpos Deposition:

         The Court finds Aetna may redact Deborah Lantzy-Talpos’ November 13, 2012

   deposition found in Doc. No. 133, Ex. AA, lines 57:7 to 57:12 and lines 58:6 to 58:11.

   These passages include Aetna’s confidential business strategies.

         4.     October 29, 2012 Michael Andreshak Deposition:


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         Aetna seeks to redact certain passages from the October 29, 2012 Michael

   Andreshak deposition, found in Doc. No. 133, Exs. F and G. The Court finds that

   only Doc. No. 133, Ex. F, lines 197:10 to 197:25 will be redacted, because this

   contains Aetna’s confidential business strategy. As to the remaining requested

   passages (Doc. No. 133, Ex. F, lines 194:1 to 194:7 and 195:21 to 197:4; Doc. No.

   133, Ex. G, lines 207:14 to 208:17 and 208:22 to 209:25), the Court finds that these

   lines do not specifically involve Aetna’s confidential business strategy.

         The Court finds that Aetna may redact Doc. Nos. 292 and 294, Ex. 51, lines

   80:9 to 80:12 only. This passage contains Aetna’s internal strategies as to how to

   compete with Blue Cross. Lines 80:1 to 80:8 will not be redacted, the Court finding

   that this information is relevant to the Class Plaintiffs’ evaluation of the Settlement

   Agreement. The unredacted pages 166 to 168 of Mr. Andreshak’s deposition were not

   submitted for review. Aetna has not met its burden as to these pages as required by

   the Sixth Circuit; these pages 166 to 168 will not be redacted.

         5.     August 21, 2012 Helen Hughes Deposition:

         The redaction sought in Helen Hughes’ August 21, 2012 deposition transcript,

   Doc. No. 133, Ex. AAAA, line 60:5 and Doc. Nos. 292 and 294, Ex. 72, lines 209:17,

   209:21 and 232.1 to 232.24 involve Aetna’s confidential rate information and will

   remain redacted as requested by Aetna.


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          6.    March 15, 2012 Steven Leach Deposition:

          Steven Leach’s March 15, 2012 deposition testimony found in Doc. No. 127,

   Ex. 18 and Doc. No. 291, Ex. 43, lines 300:13, 300:17, 300:20-21 and 301:3 sets forth

   confidential rate information and will remain redacted.

          7.    August 14, 2012 Patrick McGuire Deposition:

          As to Patrick McGuire’s August 14, 2012 deposition, Aetna seeks to redact the

   testimony set forth in Doc. No. 127, Ex. 9, lines 253:21 to 253:25. Blue Cross objects

   arguing that this information is necessary for the Class Plaintiffs’ assessment of

   whether the MFN-plus clause affected the hospitals in pricing its rates. The Court

   finds that the lines Aetna seeks to redact are relevant to the Class Plaintiffs’ evaluation

   of the benefit they may receive under the settlement agreement. However, the Court

   finds that the actual rate number is not required for the Class Plaintiffs’ evaluation.

   Aetna may redact the numbers set forth in line 25.

          8.    December 7, 2012 Brian Rodgers Deposition:

          Aetna seeks to redact certain lines from Brian Rodgers’ December 7, 2012

   deposition, Doc. No. 127, Ex. 17 and Doc. Nos. 291 and 294, lines 151:1 to 151:6,

   168:5 to 172:15, 172:1 to 174:15, 186:8-9 and 215:3 to 216:5, arguing that these

   passages relate to Aetna’s negotiations with the hospital and are not relevant to the

   Class Plaintiffs’ evaluation of the Settlement Agreement. Blue Cross objects as to


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   lines 168:5 to 174:24, 186:5 to 186:10 claiming that the Class Plaintiffs require this

   information in their evaluation of the Settlement Agreement.

         After reviewing these passages, the Court finds that the information in these

   documents is relevant to the Class Plaintiffs’ evaluation of the likelihood of success

   on the merits and the benefits they may receive under the Settlement Agreement.

   However, Aetna may redact the actual confidential rate information found in lines

   168:7, 168:22, 169:15 and 170:15.

         9.     November 20, 2012 Timothy Susterich Deposition:

         The passage in the November 20, 2012 Timothy Susterich deposition found in

   Doc. No. 127, Ex. 16, lines 62:13 to 62:25 may be redacted by Aetna, the Court

   finding that the information includes confidential customer information and Aetna’s

   strategy as to this customer.

         10.    AETNA-00226835:

         Aetna seeks to redact Doc. Nos. 290 and 294, Ex. 67, pages 1, 4, 5, and 6.

   Aetna does not seek to redact pages 2 and 3. Aetna asserts these pages reveal Aetna’s

   confidential internal strategic discussion and are not necessary for the Class Plaintiffs’

   consideration of the Settlement Agreement. Blue Cross objects arguing that the

   redactions Aetna seeks obscure material directly cited in the brief and may affect the

   Class Plaintiffs’ ability to assess the Settlement Agreement.


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         After review of the document, the Court finds that pages 1, 4, 5 and 6 reveal

   Aetna’s internal strategy in the Michigan market. Aetna may redact these pages, the

   Court finding that the redaction is narrowly tailored to protect Aetna’s internal

   business strategy.

         11.    December 17, 2012 Ross Sanders Deposition:

          The December 17, 2012 Ross Sanders deposition, Doc. No. 293 and 294, Ex.

   17, lines 216:1 to 216:10, may be redacted by Aetna, the Court finding that the

   information includes confidential internal strategy.

         12.    December 3, 2012 Mark Bertolini Deposition:

          Aetna may redact the March 3, 2102 Mark Bertolini deposition, Doc. Nos. 292

   and 294, Ex. 52, line 232:4, the Court finding that the information includes

   confidential internal strategy.

         13.    August 12, 2012 Paula Reichle Deposition:

          The deposition testimony of Paula Reichle in Doc. Nos. 290 and 294, Ex. 20,

   lines 163:13, 163:17 and 163:21, includes Aetna’s confidential rate information and

   will remain redacted.

         14.    September 14, 2012 Cass Wisniewski Deposition:

          The September 14, 2012 Cass Wisniewski deposition, Doc. Nos. 291 and 294,

   Ex. 36, lines 30:13 to 33:7 may be redacted, the Court finding that the information


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   relates to Aetna’s confidential rates and business strategy. As to lines 34:2 to 34:6,

   Aetna may redact only the actual percentage rates noted in line 34:3.

         As set forth above, the Court grants in part and denies in part, Aetna’s request

   to redact the passages noted above, the Court finding that some redactions are

   narrowly tailored to Aetna’s confidential rates, certain customer information and

   business strategy. Regarding the unredacted passages, the Court finds that the

   information in those passages is relevant to the Class Plaintiffs’ evaluation of the

   benefits they may receive set forth in the Settlement Agreement.

         F.     CIGNA Health and Life Ins. Co.’s Motion to Intervene (#287,
                10/25/16) and CIGNA Health and Life Ins. Co.’s Motion to Seal
                (#288, 10/26/16)

                1.    Motion to Intervene

         Cigna filed this Motion to Intervene in order to file a motion to redact and seal

   limited portions of a document which contains highly confidential, proprietary, and

   competitively trade secret information. The Sixth Circuit expressly noted that third-

   party insurers “remain free on remand to demonstrate—on a document-by-document,

   line-by-line basis—that specific information in the court record meets the demanding

   requirements for a seal.” Id. at 309. The Court recently issued an Order denying the

   Varnum Group’s Motion to Intervene noting that the Sixth Circuit’s ruling allowed

   parties to request documents to be sealed and that no intervention was required.


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         Cigna’s Motion to Intervene is denied since it is not required to seek redaction

   or seal certain documents.

                2.    Motion to Seal

         Cigna seeks to redact certain portions of the November 29, 2012 Michele

   Hanrahan Tracy Deposition. Cigna listed in Attachment A to its motion the pages and

   lines to be redacted. Blue Cross does not object to Cigna’s request. The Class

   Plaintiffs object claiming that Cigna has not provided a line by line demonstration

   necessary to justify the requested redactions.

         As noted above, the Sixth Circuit noted that the third-party who seeks to keep

   information from the public and the court’s docket must demonstrate—on a

   document-by-document, line-by-line basis—that specific information in the court

   record meets the demanding requirements for a seal. Shane Group, 825 F.3d at 309.

   Cigna did not attach the unredacted versions (under seal) so that the Court could view

   the requested documents in context. Cigna also did not submit any support (such as

   affidavits) as to why the requested redactions are trade secrets or may harm Aetna.

         At the hearing, Cigna indicated it would supplement its motion with an affidavit

   and specific reasons for the requested redaction. Cigna has since supplemented its

   motion, including a Declaration by Chad Matteson as to its reasons for redacting

   information from the deposition. See. Doc. No. 312.


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            The Court has reviewed Cigna’s affidavit in support of its motion, along with

   the specific reasons for each requested redaction found in Doc. No. 312-2, Pg ID

   12172-12175, the proposed redacted deposition found in Doc. No. 312-3, Pg ID

   12177-12188, and the unredacted deposition found in Doc. No. 294, Ex. 47. The

   Court finds the proposed redactions are narrowly tailored to protect Cigna’s trade

   secrets, confidential rates, negotiating strategy, customer and competitor names.

   Cigna may redact Ms. Tracy’s deposition as noted in Doc. No. 312-3, specifically

   lines: 109:11-12; 110:1; 110:5; 110:16; 110:19; 111:7; 111:9; 111:11-12; 111:17;

   117:1.

   III.     CONCLUSION/ORDER

            For the reasons set forth above,

            IT IS ORDERED that Blue Cross Blue Shield of Michigan’s Motion to

   Seal/Redact and Keep Under Seal Limited Information (Doc. No. 267) is GRANTED

   IN PART AND DENIED IN PART as more fully set forth above.

            IT IS FURTHER ORDERED that Spectrum Health System’s Motion to

   Preserve Exhibits Under Seal (Doc. No. 282) is GRANTED.

            IT IS FURTHER ORDERED that The Dow Chemical Company’s Motion to

   Seal/Redact Certain Information (Doc. No. 284) is GRANTED IN PART AND

   DENIED IN PART as more fully set forth above.


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         IT IS FURTHER ORDERED that Aetna, Inc.’s Motion to Seal/Redact and

   Keep Under Seal Limited Information (Doc. Nos. 286 and 300) is GRANTED IN

   PART AND DENIED IN PART as more fully set forth above.

         IT IS FURTHER ORDERED that Cigna Health and Life Insurance Company’s

   Motion to Intervene (Doc. No. 287) is DENIED.

         IT IS FURTHER ORDERED that Cigna Health and Life Insurance Company’s

   Motion to Seal/Redact (Doc. No. 288) is GRANTED.


                           S/Denise Page Hood
                           Denise Page Hood
                           Chief Judge, United States District Court

   Dated: April 17, 2018

   I hereby certify that a copy of the foregoing document was served upon counsel of
   record on April 17, 2018, by electronic and/or ordinary mail.

                           S/LaShawn R. Saulsberry
                           Case Manager




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